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                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA

 Case No.           2:20-cv-04043-WDK-JC                                  Date     October 20, 2021
 Title             G and G Closed Circuit Events, LLC v. Elsa Jackeline Mateo-Mejia




 Present           The Honorable William D. Keller, United States District Judge
                   Patricia Gomez                                             None
                  Courtroom Deputy                                        Court Reporter

       Attorneys Present for Plaintiffs:                      Attorneys Present for Defendants:
                         None                                                    None
 Proceedings:               (In Chambers) ORDER TO SHOW CAUSE RE DISMISSAL
                            FOR LACK OF PROSECUTION

       It is the responsibility of plaintiff to respond promptly to all Orders and to
prosecute the action diligently. The file in this case lacks the papers that show it is being
timely prosecuted, as reflected below. Accordingly, the Court, on its own motion,
hereby orders plaintiff to show cause in writing no later than November 19, 2021, why
this action should not be dismissed for lack of prosecution.

      As an alternative to a written response by plaintiff, the Court will accept the filing
of an appropriate motion, if it is filed on or before the above date, as evidence that the
matter is being prosecuted diligently. No oral argument of this matter will be heard
unless ordered by the Court. The Order will stand submitted upon the filing of a
responsive pleading or motion on or before the date a response by plaintiff is due.

                Plaintiff is to serve notice of this Order on all parties in this action.

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                                                         Initials of Preparer              PG




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